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 5 Attorney for Defendant
   RAMON GOMEZ GARCIA
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 8                           IN THE UNITED STATES DISTRICT COURT

 9                             EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                         CASE NO. 1:13-CR-412-LJO-BAM
11                              Plaintiff,             STIPULATION AND ORDER TO
                                                       CONTINUE BOND STATUS
12   v.                                                CONFERENCE
13   RAMON GOMEZ GARCIA.
14                              Defendant.
15

16         Defendant, RAMON GOMEZ GARCIA, by and through his counsel of record,
17 NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and

18 through its counsel of record, MEGAN RICHARDS, Assistant United States Attorney

19 for the Eastern District of California, hereby stipulate that the BOND Status Conference in
20 the above-referenced case currently scheduled for January 17th, 2014 at 1:30 p.m. be

21 continued to Monday, January 27, 2014 at 1:00 p.m. in the courtroom for the Honorable

22 Magistrate JudgeMcAuliffe.

23         This stipulation is based on good cause and in the interest of justice.
24 IT IS SO STIPULATED
                                                       Respectfully submitted,
25
26 Dated: 01-16-2014                                   /s/ Nicholas F. Reyes
                                                       NICHOLAS F. REYES
27                                                     Attorney for Defendant
28                                                     RAMON GOMEZ GARCIA
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     IT IS SO STIPULATED
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 4
     Dated: 01-16-2014                         /s/ Megan Richards
                                               MEGAN RICHARDS
 5                                             Assistant U.S. Attorney
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 7 IT IS SO ORDERED.

 8      Dated:   January 16, 2014
                                           UNITED STATES MAGISTRATE JUDGE
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